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 4   Attorney for Defendant
     BERNARDO LAREDO
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 6
 7                          IN THE UNITED STATES DISTRICT COURT
 8                       FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,                            No. 2:10-CR-00299 WBS
11                                  Plaintiff,            STIPULATION AND [PROPOSED]
                                                          ORDER TO CONTINUE STATUS
12          vs.                                           CONFERENCE, AND TO EXCLUDE
                                                          TIME PURSUANT TO THE SPEEDY
13   BERNARDO LAREDO, et al.,                             TRIAL ACT
14                                  Defendants.
15
16           IT IS HEREBY STIPULATED by and between the parties hereto through their
17   respective counsel, Daniel McConkie, Assistant United States Attorney, attorney for plaintiff;
18   Michael Hansen, attorney for defendant Bernardo Laredo; Dina Santos, attorney for defendant
19   Mara Stiles; Toni Carbone, attorney for defendant Angela Boschke; and Preciliano Martinez,
20   attorney for defendant Jose Aguilar-Madriz, that the previously-scheduled status conference
21   date of January 28, 2013, be vacated and the matter set for status conference on March 4, 2013,
22   at 9:30 a.m. It is expected the defendants will either change their pleas or set trial dates.
23           This continuance is requested to allow counsel additional time to consult with their
24   clients. All defendants are working diligently to resolve their cases short of trial.
25           The Government concurs with this request.
26          Further, the parties agree and stipulate the ends of justice served by the granting of such
27   a continuance outweigh the best interests of the public and the defendants in a speedy trial and
28   that time within which the trial of this case must be commenced under the Speedy Trial Act


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 1   should therefore be excluded under 18 U.S.C. section 3161(h)(7)(B)(iv), corresponding to
 2   Local Code T-4 (to allow defense counsel time to prepare), from the date of the parties’
 3   stipulation, January 24, 2013, to and including March 4, 2013.
 4          Accordingly, the parties respectfully request the Court adopt this proposed stipulation.
 5          IT IS SO STIPULATED.
 6   Dated: January 24, 2013                               Respectfully submitted,
 7                                                         /s/ Michael E. Hansen
                                                           MICHAEL E. HANSEN
 8                                                         Attorney for Defendant
                                                           BERNARDO LAREDO
 9
     Dated: January 24, 2013                               /s/ Michael E. Hansen for
10                                                         DINA SANTOS
                                                           Attorney for Defendant
11                                                         MARA STILES
12   Dated: January 24, 2013                               /s/ Michael E. Hansen for
                                                           TONI CARBONE
13                                                         Attorney for Defendant
                                                           ANGELA BOSCHKE
14
     Dated: January 24, 2013                               /s/ Michael E. Hansen for
15                                                         PRECILIANO MARTINEZ
                                                           Attorney for Defendant
16                                                         JOSE AGUILAR-MADRIZ
17   Dated: January 24, 2013                               BENJAMIN B. WAGNER
                                                           UNITED STATES ATTORNEY
18
                                                           /s/ Michael E. Hansen for
19                                                         DANIEL McCONKIE
                                                           Assistant U.S. Attorney
20                                                         Attorney for Plaintiff
21
22                                               ORDER
23          The Court, having received, read, and considered the stipulation of the parties, and
24   good cause appearing therefrom, adopts the stipulation of the parties in its entirety as its order.
25   Based on the stipulation of the parties and the recitation of facts contained therein, the Court
26   finds that it is unreasonable to expect adequate preparation for pretrial proceedings and trial
27   itself within the time limits established in 18 U.S.C. section 3161. In addition, the Court
28   specifically finds that the failure to grant a continuance in this case would deny defense


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 1   counsel to this stipulation reasonable time necessary for effective preparation, taking into
 2   account the exercise of due diligence. The Court finds that the ends of justice to be served by
 3   granting the requested continuance outweigh the best interests of the public and the defendants
 4   in a speedy trial.
 5            The Court orders that the time from the date of the parties’ stipulation, January 24,
 6   2013, to and including March 4, 2013, shall be excluded from computation of time within
 7   which the trial of this case must be commenced under the Speedy Trial Act, pursuant to 18
 8   U.S.C. section 3161(h)(7)(B)(iv), and Local Code T4 (reasonable time for defense counsel to
 9   prepare). It is further ordered that the January 28, 2013, status conference shall be continued
10   until March 4, 2013, at 9:30 a.m.
11            IT IS SO ORDERED.
12   Dated:          January 24, 2013

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     Stipulation and [Proposed] Order to Continue Status Conference
